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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case No. 16-20575-CR-SCOLA
UNITED STATES OF AMERICA
vs.

JEFFERSON XAVIER BRAVO ESPINOSA,

Defendant.
/

PLEA AGREEMENT
The United States Attorney’s Office for the Southern District of Florida (“this Office”) and
JEFFERSON XAVIER BRAVO ESPINOSA (hereinafter referred to as the “defendant”) enter
into the following agreement:

1, The defendant agrees to plead guilty to Count 1 of the Indictment, which charges

the defendant with conspiring with others to distribute more than five (5) kilograms of cocaine,
knowing that it was to be unlawfully imported into the United States, in violation of Title 21, United
States Code, Section 959(a)(2); all in violation of Title 21, United States Code, Section 963.

2. The defendant is aware that the sentence will be imposed by the Court after
considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
“Sentencing Guidelines”). The defendant acknowledges and understands that the Court will
compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines ©
will be determined by the Court relying in part on the results of a pre-sentence investigation by the
Court’s probation office, which investigation will commence after the guilty plea has been entered.
The defendant is also aware that, under certain circumstances, the Court may depart from the
advisory sentencing guideline range that it has computed, and may raise or lower that advisory
sentence under the Sentencing Guidelines. The defendant is further aware and understands that the

Court is required to consider the advisory guideline range determined under the Sentencing’
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Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted
to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either
more severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts,
the defendant understands and acknowledges that the Court has the authority to impose any sentence
within and up to the statutory maximum authorized by law for the offense identified in paragraph 1
and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

3. The defendant also understands and acknowledges that the Court must impose a
minimum term of imprisonment of ten (10) years and may impose a statutory maximum term of
imprisonment of up to life, followed by a minimum term of supervised release of five (5) years and.
up to life. In addition to a term of imprisonment and supervised release, the Court may impose a
fine of up to $10,000,000.

4. The defendant further understands and acknowledges that, in addition to any
sentence imposed under paragraph 3 of this agreement, a special assessment in the amount of $100
will be imposed on the defendant. The defendant agrees that any special assessment imposed shall
be paid at the time of sentencing. Ifa defendant is financially unable to pay the special assessment, .
the defendant agrees to present evidence to this Office and the Court at the time of sentencing as to
the reasons for the defendant’s failure to pay.

5. This Office reserves the right to inform the Court and the probation office of all facts
pertinent to the sentencing process, including all relevant information concerning the offenses |
committed, whether charged or not, as well as concerning the defendant and the defendant’s
background. Subject only to the express terms of any agreed-upon sentencing recommendations

. contained in this agreement, this Office further reserves the right to make any recommendation as to

the quality and quantity of punishment.
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6. The United States agrees that it will recommend at sentencing that the Court reduce
by two levels the sentencing guideline level applicable to the defendant’s offense, pursuant to
Section 3E1.1(a) of the Sentencing Guidelines, based upon the defendant’s recognition and
affirmative and timely acceptance of personal responsibility. If at the time of sentencing the
defendant’s offense level is determined to be 16 or greater, the government will file a motion

- requesting an additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing
Guidelines, stating that the defendant has assisted authorities in the investigation or prosecution of
the defendant’s own misconduct by timely notifying authorities of the defendant’s intention to enter
a plea of guilty, thereby permitting the government to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently. The United States further agrees
to recommend that the defendant be sentenced at the low end of the guideline range, as that range is _
determined by the Court. The United States, however, will not be required to make this motion
and these recommendations if the defendant: (1) fails or refuses to make a full, accurate and complete
disclosure to the probation office of the circumstances surrounding the relevant offense conduct; (2) .
is found to have misrepresented facts to the government prior to entering into this plea agreement;
or (3) commits any misconduct after entering into this plea agreement, including but not limited to
committing a state or federal offense, violating any term of release, or making false statements or
misrepresentations to any governmental entity or official.

7. This Office and the defendant agree that, although not binding on the probation -
office or the Court, they will jointly recommend that the Court make the following findings and

conclusions as to the sentence to be imposed:
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(a). Quantity of drugs: That the quantity of controlled substance, cocaine, involved in the
offense, for purpose of Section 2D1.1(a) and (c).of the Sentencing Guidelines is at least 450
kilograms.

(b). Aggravating Role: That the defendant should receive a two-level increase pursuant
to Section 3B1.1(c) ofthe Sentencing Guidelines, as the defendant was an organizer, leader,
manager, or supervisor of the criminal activity described in Count 1 of the Indictment.

8. The defendant is aware that the sentence has not yet been determined by the Court.

The defendant also is aware that any estimate of the probable sentencing range or sentence that the.
defendant may receive, whether that estimate comes from the defendant’s attorney, the government,
or the probation office, is a prediction, not a promise, and is not binding on the government, the
probation office or the Court. The defendant understands further that any recommendation that
the government makes to the Court as to sentencing, whether pursuant to this agreement or
otherwise, is not binding on the Court and the Court may disregard the recommendation in its .
entirety. The defendant understands and acknowledges, as previously acknowledged in paragraph
3 above, that the defendant may not withdraw his plea based upon the Court’s decision not to accept
a sentencing recommendation made by the defendant, the government, or a recommendation made
jointly by both the defendant and the government.

9. - The defendant agrees that he shall cooperate fully with this Office by: (a) providing
truthful and complete information and testimony, and producing documents, records and other
evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any trial
or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and other

| judicial proceedings, and at meetings, as may be required by this Office; and (c) if requested by

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this Office,. working in an undercover role under the supervision of, and in compliance with, law .
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enforcement officers and agents. In addition, the defendant agrees that he will not protect any
person or entity through false information or omission, that he will not falsely implicate any person-
or entity, and that he will not commit any further crimes.

10. This Office reserves the right to evaluate the nature and extent of the defendant’s
cooperation and to make that cooperation, or lack thereof, known to the Court at the time of
sentencing. If in the sole and unreviewable judgment of this Office the defendant’s cooperation
is of such quality and significance to the investigation or prosecution of other criminal matters as
to warrant the Court’s downward departure from the advisory sentencing range calculated under

_ the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may ~
make a motion prior to sentencing pursuant to Section 5K1.1 of the Sentencing Guidelines and/or
Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of
the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided.
substantial assistance and recommending that the defendant’s sentence be reduced. The defendant

| understands and agrees, however, that nothing in this agreement requires this Office to file any such
motions, and that this Office’s assessment of the quality and significance of the defendant’s
cooperation shall be binding as it relates to the appropriateness of this Office’s filing or non-filing
of a motion to reduce sentence.

11. The defendant understands and acknowledges that the Court is under no obligation
to grant a motion for reduction of sentence filed by this Office. In addition, the defendant further
understands and acknowledges that the Court is under no obligation of any type to reduce the
defendant’s sentence because of the defendant’s cooperation.

12. The defendant also agrees to assist this Office in all proceedings, whether,

administrative or judicial, involving the forfeiture to the United States of all rights, title, and interest,
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~ regardless of their nature or form, in all assets, including real and personal property, cash and other
monetary instruments, wherever located, which the defendant or others to the defendant’s
knowledge have accumulated as a result of illegal activities. Such assistance will involve the
defendant’s agreement to the entry of an order enjoining the transfer or encumbrance of assets that
may be identified as being subject to forfeiture. Additionally, defendant agrees to identify as being
subject to forfeiture all such assets, and to assist in the transfer of such property to the United States.
by delivery to this Office upon this Office’s request, all necessary and appropriate documentation
with respect to said assets, including consents to forfeiture, quit claim deeds and any and all other
documents necessary to deliver good and marketable title to said property.

13. The defendant is aware that Title 28, United States Code, Section 1291 and Title 18,

United States Code, Section 3742 afford the defendant the right to appeal the sentence imposed in

. thiscase. Acknowledging this, in exchange for the undertakings made by the United States in this
plea agreement, the-defendant hereby waives all rights conferred by Sections 1291 and 3742 to
appeal any sentence imposed, including any restitution order, or to appeal the manner in which the
sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the
result of an upward departure and/or an upward variance from the advisory guideline range that the
Court establishes at sentencing. The defendant further understands that nothing in this agreement
shall affect the government’s right and/or duty to appeal as set forth in Title 18, United States Code,
Section 3742(b) and Title 28, United States Code, Section 1291. However, if the United States
appeals the defendant’s sentence pursuant to Sections 3742(b) and 1291, the defendant shall be
released from the above waiver of his right to appeal his sentence.

The defendant further hereby waives all rights conferred by Title 28, United States Code, —

Section 1291 to assert any claim that (1) the statute(s) to which the defendant is pleading guilty
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is/are unconstitutional: and/or (2) the admitted conduct does not fall within the scope of the
statute(s) of conviction. |

By signing this agreement, the defendant acknowledges that the defendant has discussed the

appeal waiver set forth in this agreement with the defendant’s attorney. The defendant further
agrees, together with this Office, to request that the Court enter a specific finding that the
defendant’s waiver of his right to appeal the sentence imposed in this case and his right to appeal -
his conviction in the manner described above was knowing and voluntary.

14. Defendant recognizes that pleading guilty may have consequences with respect to
the defendant's immigration status if the defendant is not a citizen of the United States. Under
federal law, a broad range of crimes are removable offenses, including the offense(s) to which
defendant is pleading guilty. Removal and other immigration consequences are the subject of a
separate proceeding, however, and defendant understands that no one, including the defendant’s
attorney or the Court, can predict to a certainty the effect of the defendant’s conviction on the
defendant’s immigration status. Defendant nevertheless affirms that the defendant wants to plead
guilty regardless of any immigration consequences that the defendant’s plea may entail, even if the

consequence is the defendant’s automatic removal from the United States.

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15. This is the entire agreement and understanding between this Office and the |

defendant. There are no other agreements, promises, representations, or understandings.

Date: \ONG\ \ ' )
Date: JAL Tb [LS

Date: _/@Q [1.0 N&

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

By: ANC? \

ROBERT J. EMER: .
ASSISTANT UNITED STATES ATTORNEY

   

By:
BONNIE §. KLAPPER
ATTORNEY FOR DEFENDANT

 

By: Wetfegseou BeAVD €
JEFFERSON XAVIER BRAVO ESPINOSA
DEFENDANT
